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I. (`lRJDlST./Dl\‘. C()l)E

2. PERSON REPRESEXTF.\)
TNW

Wooten, W.C.

 

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U.S. v. Wooten Felony

Adult Dcfendant Criminal Ca

 

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MEMPHIS TN 38l03

Te|ephnlte."iumher: (901) 521'400§
14, NAME ¢\Nl] MA[L!NG ADDRESS OF LA\V FIRM (cmly provide per instructional

 

ij ‘\’ Standby[`ounse|
Prior Attorney's Name:

 

Appuintment Date:

M`Becau!e the above-named person represented has Iestl|`wd under oath ur has
lherwise satisfied this court that he or she (l] is financially unable tu emptoycwnsel and
(Z] does not wish to waive cnunsei, and because the interests ufjustice so require, the

attorney whose na e appears in llem il is ap intedl present this person in this case,
C|[`
g Other {&M'ructions] %` /!W ry

Signature of Freaiding Judl'cial Ot'l'lcer or B_v Order ol` the Court
07/] ll‘)(`|t'l §
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Repay¢nenl or partial repayment ordered from the person represemed for this s ervice at

 

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CATEGORIES (Attach itemization of services with dates) CEJ?|']"|E;SD €Y£§B HIA)§§§!E‘I§%" hl':])'M.[l`llp.F(;§”i:E_lcl_)H ABB£-l]-IEC\)FAL
15. a. Arraignment and/or Piea

b. Bail and Detention Hearings

c. Motion Hearings
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C c. Sentcncing Hearings
3 f. Revocatlon Hearings
tr g. Appea|s Court

h. Other (Specify on additional sheets)

(Rate per hour = $ ) TOTALS:
16. a. lnterviews and Conferences
1110 b. Obtaining and reviewing records
n c. chal rose arch and brief writing
g d. Travel time
§ e. lnvestigative and Other work cspecify nu mdiiienul mem
{ (Rate per hour = S ) TOTALS:
l‘,'. 'l`ravel Expenses (|odging. parking, meals, mileage, elc.}
18. Othcr Expenses (orher than expert, crans¢ripts, etc.)
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l9. CERTI|~`ICA'HON OF AT'I`ORNEYIPAYEE FOR THE FER|OD 0 F SERVICE 20. APPO|NTMENT TERM!NAT|ON DATE Zl. C`ASE DISPO SIT[ON
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t)lher than from the coui]t, have you, ur toyour knowledge has anyone else, received payment (compensatiim or anything ur value)

representatinn'.' Y£S [:`. N() ll`_ves, give details on additional aheets.

l swear or affirm the truth or correctness of the above statements.

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Honorablc Samuel Mays
US DISTRICT COURT

